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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                    Case No. 20-24342-Civ-Scola

   PAYRANGE, INC.                                   )
                                                    )
                  Plaintiff,                        )
                                                    )
   v.                                               )
                                                    )
   KIOSOFT TECHNOLOGIES, LLC and                    )
   TECHTREX, INC.,                                  )
                                                    )
                  Defendants.                       )
                                                    )

                 JOINT DISCOVERY PLAN AND CONFERENCE REPORT

         Plaintiff PayRange, Inc. (“Plaintiff” or “PayRange”) and Defendants KioSoft

  Technologies, LLC (“KioSoft”) and TechTrex, Inc. (“TechTrex”) (collectively, “Defendants”) and

  (together with Plaintiff, “the Parties”), submit their Joint Discovery Plan and Conference Report

  pursuant to Southern District of Florida Local Rule 16.1(b), Federal Rule of Civil Procedure

  26(f)(3), and the Court’s Orders dated October 22, 2020 (ECF No. 4) and April 16, 2021 (ECF

  No. 30):

                                         Case Background

         Plaintiff brings this action for patent infringement arising under the patent laws of the

  United States, Title 35 of the United States Code. Specifically, Plaintiff alleges that Defendants

  have infringed and continue to infringe on three of Plaintiff’s patents, Patent Nos. 10,719,833;

  10,891,608; and 10,891,614 (the “’833 Patent,” “’608 Patent,” and “’614 Patent” respectively or,

  collectively the “Patents-in-Suit”). Plaintiff seeks injunctive relief and monetary damages.
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         As set forth in Defendants’ Unopposed Motion for Reconsideration of Defendants’ Motion

  for Leave to File a Response to Plaintiff’s Amended Complaint and Incorporated Memorandum

  of Law, Defendants have requested that the Court deem the Motion to Dismiss the ’833 Patent

  (which Motion to Dismiss alleges that the ’833 Patent is invalid under 35 U.S.C. § 101) to have

  been filed in response to the Amended Complaint and permit Defendants to file a second

  responsive pleading addressing other claims made in the Amended Complaint. In the alternative,

  Defendants have requested that the Court waive the 20-page limitation on brief length so that

  Defendants may respond adequately to the claims made in the Amended Complaint.

         On March 3, 2020, Plaintiff brought a patent infringement matter (Case No. 1:20-cv-

  20970-RS) against Defendants which involves different patents than those asserted here as well as

  various counterclaims asserted by Defendants (“PayRange I”). In this co-pending case, the Parties

  have completed fact discovery. The Parties are awaiting a claim construction order from the Court.

  Trial is set for the period beginning October 25, 2021.

                             Local Rule 16.1 Conference Report Issues

         A.       Likelihood of Settlement. The Parties had a mediation in PayRange I, which did

  not resolve the dispute. The Parties do not believe that settlement is likely in view of the prior

  mediation.

         B.       Likelihood of Appearance in Action of Additional Parties. At this time, the

  Parties do not anticipate the addition of additional parties but reserve the right to do so depending

  on facts learned in discovery.

         C.       Proposed Time Limits and Discovery Schedule. The Parties do not propose any

  modification to the Court’s patent case track as set forth in the Court’s Order dated April 16, 2021

  (ECF No. 30).




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            D.   Proposals for the Formulation and Simplification of Issues, Etc. The Parties

  shall endeavor to simplify the issues throughout this action and via discovery and the filing of

  Motions for Summary Judgment, which will not only serve to assist in the formulation and

  simplification of issues but may also eliminate certain claims and/or defenses. Additionally,

  although the overlap in issues between the cases is minimal, the Parties agree that documents and

  deposition testimony propounded in PayRange I may be used in this case.

            E.   Necessity or Desirability of Amendment to the Pleadings. Defendants have

  moved to dismiss the original Complaint as to the ’833 patent. Defendants have been granted

  leave to respond to the Amended Complaint. Plaintiff has sought leave to submit a Second

  Amended Complaint to the extent that the Court grants Defendants’ motion to dismiss the ‘833

  patent.

            F.   Possibility of Obtaining Admissions, Electronic Discovery, Etc. The Parties

  reasonably anticipate that they will be able to stipulate to admissions of fact and to the authenticity

  of most, if not all, documents after discovery is closed. The Parties anticipate using some

  discovery materials from PayRange I.

            G.   Suggestions for the Avoidance of Unnecessary Proof and of Cumulative

  Evidence. The Parties propose meeting in advance of trial during the Local Rule 16.1(d)

  conference to stipulate to the authenticity of documents, to the extent possible, to stipulate to as

  many facts as possible, and to develop an efficient procedure for the presentation of evidence. This

  should assist in eliminating the presentation of unnecessary proof and cumulative evidence at trial.

            H.   Advisability of Referring Matters to a Magistrate Judge. At this time, the

  Parties consent to refer pretrial discovery matters to the Magistrate Judge if the Court so desires.




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          I.      Preliminary Estimate of the Time Required for Trial. The Parties’ preliminary

  estimate of time for trial is five to ten days.

          J.      Requested Trial and Pretrial Dates. The Parties do not propose any modification

  to the Court’s patent case track as set forth in the Court’s Order dated October 22, 2020 (ECF No.

  4).

          K.      Other Information Helpful to the Court in Setting the Case for Status or

  Pretrial Conference. The Parties do not believe that any other information would be helpful to

  the Court at this time.

                  Federal Rule of Civil Procedure Section 26(f)(3) Discovery Plan

          A.      What changes should be made in the timing, form, or requirement for

  disclosures under Rule 26(a), including a statement of when initial disclosures were made or

  will be made. The Parties propose exchanging initial disclosures within 14 days of Defendants’

  answer and counterclaims, if any. Defendants also propose that the Court suspend the current

  Scheduling Order until after resolving the motion(s) to dismiss. Plaintiff disagrees, since the

  motion to dismiss is unlikely to simply any issues in this case and there is ample time already built

  into the schedule.

          B.      The subjects on which discovery may be needed, when discovery should be

  completed, and whether discovery should be conducted in phases or be limited to particular

  issues. The Parties anticipate conducting discovery appropriate to the Federal Rules, the Local

  Rules, and the Court’s orders concerning the Parties’ claims and defenses. Defendants propose

  that the Parties submit a revised proposed Scheduling Order following the Court’s ruling on the

  motion(s) to dismiss.




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         C.         Any issues about disclosure, discovery, or preservation of electronically stored

  information, including the form or forms in which it should be produced. The Parties

  anticipate entering into a stipulation regarding electronically stored information. The Parties also

  anticipate entering into a stipulation concerning remote deposition procedures.

         D.         Any issues about claims of privilege or of protection as trial-preparation

  materials, including—if the Parties agree on a procedure to assert these claims after

  production—whether to ask the court to include their agreement in an order under Federal

  Rule of Evidence 502. The Parties anticipate that a protective order will be needed and are

  conferring regarding an appropriate protective order, which the Parties anticipate will be submitted

  by stipulation.

         E.         What changes should be made in the limitations on discovery imposed under

  these rules or by local rule, and what other limitations should be imposed. The Parties agree

  to the following:

        Any document or discovery response produced by the Parties in PayRange I shall be

         deemed produced in this action upon entry of a stipulated protective order.

        The Parties do not anticipate any change to the limits set forth in Fed. R. Civ. P. 33 with

         regard to interrogatories.

        While the Parties may refer to any deposition of a fact witness taken in PayRange I, subject

         to entry of a stipulated protective order, the existence of those depositions shall not serve

         to limit the parameters set forth in Fed. R. Civ. P. 30 as they apply to the claims made in

         this case.

        The deposition of an expert who has submitted a report in this action shall not count toward

         the limit of 10 depositions per side.




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         At this time, the Parties do not propose any other modifications to the limitations on

  discovery imposed under the rules and do not propose any additional limitations.

         F.      Any other orders that the Court should issue under Rule 26(c) or under Rule

  16(b) and (c). As stated above, the Parties will submit a proposed protective order and a proposed

  order governing remote depositions for the Court’s approval. The Parties do not anticipate the

  need for any further orders under Rule 26(c) or Rule 16(b) and (c).




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  Dated: April 21, 2021                  Respectfully submitted,

  APPROVED:
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